                 IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         CHARLOTTE DIVISION
                                3:95cr178

UNITED STATES OF AMERICA,                                )
                                                         )
                                                         )
Vs.                                                      )               ORDER
                                                         )
LONNIE
LONNIEHAMES,
       JAMES, JR.,
              JR.,                                       )
                                                         )
                                                         )
                 Defendant.                              )
_______________________________                          )


       THIS MATTER is before the court regarding defendant’s pro se letter to the court

in which defendant asks the court not to revoke his supervised release status and to reduce

his sentence. The court will treat defendant’s letter as a motion. Review of the docket

reveals that defendant is represented by counsel in this matter. The Local Criminal Rules

provide for disposition of this motion:

       (H) Pro Se Motions Filed By Criminal Defendants Who Have Not Waived
       Their Right To Counsel. Except for challenges to the effective assistance of
       counsel, the Court will not ordinarily entertain a motion filed by a criminal
       defendant who is still represented by counsel and has not formally waived his
       or her right to counsel in the presence of a judicial officer after being fully
       advised of the consequences of waiver. Exceptions to this general rule may be
       made in the discretion of the judicial officer considering the pro se motion.

L.Cr.R. 47.1(H). The court will decline to exercise its discretion to consider the merits of

such pro se motion as defendant makes no claim concerning proper representation. Having

considered defendant’s pro se motion and reviewed the pleadings, the court enters the

following Order.




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                                 ORDER

      IT IS, THEREFORE, ORDERED that defendant’s pro se motion (#537) is

DENIED as non-justiciable.




                                    Signed: July 26, 2011




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